               Case: 1:19-cr-00277 Document #: 1 Filed: 03/26/19 Page 1 of 12 PageID #:1

 AO 91(Rev. 1V11) Criminal     Complaint                AUSA Christopher V. Parente (312) 886-2447
                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION
                                                                                     FILED
 UNITED STATES OF AMERICA                                                                   t'lAR   26   2019ru
                                                          CASENUMBER:                  THOMASGBRUTON
                          v.                                               .        CLERK, U.S. DISTRICT COURT

 CONCEPCION MALINEK                                                       IgCR 277
                                           CRIMINAL COMPI,AIN'T                  TIAGISTRATEJUDGECOIf,

          I, the complainant in this case, state that the following is trre to the best of my knowledge and
belief.
From in or around December 2018 to on or about March 26, 2019, at Cicero, and elsewhere, in the
Northern District of Illinois, Eastern Division, the defendant violated:
 Code Section                                    Offense Description
 Count 1:                                        knowingly provided and obtained the labor and services of
 Title 18, United States       Code, Section     a person, namely Victim D, by means of serious harm and
 1589(a)(2) and (aX4)                            threats ofserious harm and by means of any scheme, plan,
                                                 and pattern intended to cause Victim D to believe that, if
                                                 Victim D did not perform such labor or services, Victim D
                                                 or another person would suffer serious harm.

                                                knowingly provided and obtained the labor and services of
 Count 2:                                       a person, namely Victim E, by means of serious harm and
 Title 18, United States Code, Section          threats of serious harm and by means of aly scheme, plan,
 1589(a)(2) and (a)(4)                          and pattern intended to cause Victim E to believe that, if
                                                Victim E did not perform such labor or services, that
                                                                                        serious harm.
     This criminal complaint is based upon these facts:
      X     Continued on the attached sheet.




Sworn to before me and sig:ned in my presence.

 Date: March 26.2019


 City and state: Chicago. lllinois
                                                                        Printed name and Title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                       AFFIDAVIT

      I, ASHLEY KIZLER, being duly sworn, state as follows:

      1.        I   am a Special Agent with the Federal Bureau of Investigation (FBI),

and have been so employed for seven years. As part of my duties as an FBI Special

Agent,   I   investigate criminal vioiations relating to civil rights offenses, to include

human trafficking and labor trafficking, and crimes against children.                I   have

participated in investigations involving violations of various federal laws, including

public corruption, wire fraud and mail frdud, forced labor, sex trafficking of children

and through means offorce, fraud and coercion.

      2.        This affidavit is submitted in support of a criminal complaint alleging

that Concepcion Malinek ('MALINEK') has violated             fitle   18, United States Code,

Sections 1589(a)(2) and (aX4). Because this affidavit is being submitted for the

limited purpose of establishing probable cause in support of a criminal complaint

charging MALINEK with labor trafficking, I have not included each and every fact

known to me concerning this investigation.         I   have set forth only the facts that   I
believe are necessary to establish probable cause to believe that the defendant

committed the offense alleged       in the complaint. This affidavit is based on my
perspnal knowledge, information provided to me by other law enforcement agents and

from persons with knowledge regarding relevant facts.
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         BACKGROUND

         3.    In March 2019, FBI received inforrration from Individual A regarding a

potential victim of human trafficking.t Individual A stated that a coworker, Victim

B, told Individual A he was being held in a basement in Cicero with twenty other

Guatemalans and forced to work by a female who owned the residence.

         4.    On March L5,20L9,law enforcement contacted Individual A regarding

the above information. Individual A stated that Victim B, along with Victim B's wife,

Victim C, work with Individual A at a factory in Romeoville, Illinois. Individual A

stated that Victim B told Individual A that Victim B and Victim C, along with

approximately frve other Guatemalan employees at the factory are all living in the

basement ofa residence in Cicero, Illinois (the "Residence"). Individual A stated that

Victim B told Individual A the owner of the Residence, later identified by law
enforcement as MALINEK, is a woman who keeps an eye on them constantly. Victim

B further told Individual A that the woman who owned the Residence does not let the

victims go anywhere without her and that she transports them to work every day in

a   white passenger van and picks them up afber their shift. Individual A further stated

that Victim B told Individual A the victims pay      $aSO per month    in rent plus $50 per

person for transportation tolfrom work. The woman also charged the victims to watch

any children they have at the Residence while they go to work. Individual A stated

that Victim B told Ind.ividual A he is scared to talk to law enforcement because the



1Individual A is an employee at a factory located in Romeoville, Illinois. Individual A has no
criminal history and is receiving no benefits from the providing ofthis information.
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woman constantly threatens him and the others with immigration consequences            if
they talk about their arrangement.

         5.      On March 21,2019, and March 23,2019,Iaw enforcement interviewed

Victims B and      C.   On March 23, z0l9,law enforcement interviewed Victim     D.   On

March 26, 2019, Iaw enforcement interviewed Victim       E.   No promises or payments

have been made to them regarding this investigation.

         a. VictimD
         6.      Victim D is a citizen of Guatemala. Victim D resides at the Residence

with his 15 year old daughter, Victim E. Victim D stated he paid Guatemalan officials

$14,000 to get      to the United States. Victim D knew MALINEK from working
construction at a hotel      in Guatemala owned by MALINEK.2 In        December 2019,

Victim D and Victim E crossed the border in Texas and reported to immigration

authorities. Victim D provided immigration officials with MALINEK s name and the

address of the Residence as the residence he would be residing          at pending his
immigration disposition. After arriving at the Residence, Victim D stated MALINEK

told him he owed her $18,000 for letting him use her name and residence on his

immigration paperwork and for getting him from the border to the Residence.

         7   .   After Victim D's arrival at the Residence, MALINEK sent Victim D to a

temporary staffing agency and told Victim D to be asked to be placed at Company A.

Victim D explained he makes approrimately $1,956 a month working at Company A.



2   Victim D identified a photograph of Concepcion Malinek as the indiyidual he knew who
owned the Residence and who controlled his debt
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From that he pays MALINEK a total of $974 per month. The money MALINEK

charges Victim D per month is detailed as follows: (1) $200 towards his debt; (2) $42a

for "bills"3; (3) $200 for transportation tolfrom work; and (4) $35 for the        phone

MALINEK gave him. Victim D explained that MALINEK keeps track of all amounts

owed in a ledger which she   fills in alter each pay'rnent. Victim D described the ledger

as a standard looking notebook which is kept inside the Residence.

       8.    Victim D stated that MALINEK has told him and other victims on

multiple occasions that if they talk to anyone about what was going on inside the

Residence they would be deported back to Guatemala and their kids       will stay in the

United States with CONCEPCION.

       9.    Victim D stated that he lives in the basement but that Victim E, his 15

year old daughter, resides on the frrst floor ofthe Residence. Victim D stated nobody

is allowed to leave the basement of the Residence to go upstairs unless they call
MALINEK and receive permission. Victim D stated that his daughter is allowed to

come down to the basement to    visit him, but only for limited periods of time.

       10.   Victim D stated that MALINEK drives him and many of the other

victims to and llom work every day.

      b.     Victim E
       11.   Victim E is 15 years old and is a citizen of Guatemala. Victim E stated

she travelled to the United States in approximately December 2018       with her father,



3 Victim D was unable to identify what "bills" this covered. Victim D explained MALINEK
just told him it covers 'bills."



                                            4
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Victim D, and went to live at the Residence. Victim E explained that before leaving

Guatemala they spoke to MALINEK by telephone and were told           it would cost $5,000
to    come   to the United States. However, once they arrived at the          Residence,

MALINEK told them they owed her $10,000 for bringing them to the United States.a

Victim E explained that once she and her father crossed the Mexico/US border and

encountered U.S. authorities, MALINEK paid for their airline tickets to Chicago and

picked them up at the airport.

         12.    Victim E stated that after arriving at the Residence, MALINEK took

her photograph and later brought her a fraudulent identification document which

purported that Victim E was 28 years old. MALINEK later obtained employment for

Victim E at Company A. Victim E stated that MALINEK drove her to and from work

every day. Victim E explained that she turns over her entire paycheck to her father,

Victim D, who then provides the funds to MALINEK, in order to help pay off their

deht to MALINEK. Victim E stated that MALINEK said if they did not pay off the

debt that she would throw them out of the Residence so they continue to make

pa;rments. Victim E stated she has lived in the Residence since she arrived in

Chicago.

         13.   Victim E further stated that she heard from others that MALINEK

would call immigration officials and individuals would be deported        if they talked
about what was happening inside the Residence.



a   Victim E identifled a photograph of Concepcion Malinek as the individual she knew who
owned the Residence and who controlled her debt.



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          14.   Victim B is a citizen of Guatemala. Victim B stated he travelled to the

United States in May 2018 along with his 12 year old son, and was detained by

immigration authorities. Victim B contacted MALINEK by telephone and agreed

with MALINEK to provide MALINEK                  s name and residence as the place he would be

staying.s Victim B stated that MALINEK charged him $7,000 for getting him to the

United States.6 Victim B stated that he paid MALINEK approximately $600 per

month to pay off his debt. Victim B stated that his passport was seized by

immigration officials and two times per month MALINEK drives him to meet with

someone who Victim B believes to be a U.S. Immigration official. Victim B states         that

these meetings are brief and MALINEK charges him $50 for the ride to each visit.

Victim B stated that two weeks ago MALINEK ar:ranged for his wife and second child

to come to the United States in exchange for $30,000. Victim B agreed to a similar

payment plan with MALINEK to have his wife and child brought over to the United

States.

         15.    Victim B stated that he and his wife live in the basement of Residence,

along with their 10 year old daughter and 12 year old son.? Victim B stated there

are approximately 34 people living in the Residence, including approximately 16

children. Victim B stated that he believes the majority of the individuals in the

5 Victim B stated his mother provided him with MALINEK s telephone number before
he left Guatemala.
6 Victim B identified a photograph of Concepcion Malinek as the individual he knew who
owned the Residence and who controlled his debt.
7   Victim B stated his   10 year old   daughter is not in school.



                                                    6
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Residence are aliens claiming political asylum, but at least two of the aliens are         in

the United States illegally with no pending asylum claim.

       16.      Victim B stated that MALINEK gave all the victims their own cell phone

to use to communicate with her and others. Victim B stated that every Thursday all

victims are required to be in the Residence for a house visit by immigration officials.

Victim B stated that MALINEK would call each family upstairs on Thursday, using

their cell phones to reach them, one at   a   time, to meet with the "immigration officials."

       17   .   Victim B stated that after arriving at the Residence, MALINEK told him

he owed her $7,000 for her bringing him to the United States. Victim B stated

MALINEK sent him to a temporary employment agency and told him to request to

work at Company A. Victim B stated that many of the other individuals living in the

basement of the Residence also work at Company            A.   A1I the individuals work the

same shift, 3:00p.m. through 12:30a.m. Monday through Friday. Victim B explained

that MALINEK would drive all the victims from the Residence to Company A and

pick them up at the end of the night. The victims would immediately return to the

basement of the Residence. MALINEK charged each victim $50 per week for

transportation tolfrom work.

      18.       Victim B explained that he was paid approximately $1,956 per month

from Company      A.   He would cash his checks at a currency exchange and have to pay
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MALINEK the following amounts every month: (1) $200 towards his debt; (2) *424

for "bills"8; (3) and $100 for rides tolfrom work.

         d. Victim   C

         19.   Victim C is a citizen of Guatemala. Victim C is married to Victim B and

has two children. They all reside at the Residence.

         20.   Victim C explained that she arrived at the Residence in approximately

March 2019, approximately two weeks ago. Victim C stated that MALINEK charged

her $30,000 for bringing her and her daughter to the United States.s After Victim

C's   arrival at the Residence, MALINEK sent Victim C to a temporary staffing agency

and told Victim C to be asked to be placed at Company     A. Victim   C did as instructed

and currently works at Company       A. Victim C explained that   she uses her salary to

pay offher debt to MALINEK.

         21.   Victim C stated that MALINEK told her if she said anything to anyone

about what was happening inside the Residence she would lose her children. Victim

C stated that MALINEK is verbally abusive to the victims. Victim C stated
MALINEK has told them, "immigration knows how many people live in this house,

you guys are poor and     I have all the money." Victim C also stated that, at times,
MALINEK challenged the victims to call immigration officials to report their living

situation, explaining, "they already know you are here, so go ahead and call them."



 I Victim B was unable to identi$r what "bills" this covered. Victim B explained MALINEK
just told him it covers "bills."
e   Victim C identified a photograph of Concepcion Malinek as the individual she knew who
owned the Residence and who controlled her debt.



                                             6
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Victim C believed that MALINEK meant if Victim C tried to contact the authorities

for help that they would not help her.

       22.    Victim C stated that MALINEK posted "rules" on the door going from

the basement to the upstairs. One ofthe "rules" stated that the basement had to be

clean before everyone left for work and they would have to pay a fine. Another "rule"

was a schedule for cleaning the Residence that had all of the victims with a different

cleaning shift. None of the victims were compensated for their cleaning services.

       e.     Search Warrant

       23.    On March 26, 2OL9, aL approximately 6:15a.m., a federal search warrant

was executed at the Residence. Law enforcement recovered a total of 33 individuals

living in the home, including 19 adu-lts and 14 children. All were believed to be

citizens of Guatemala.lo Victims B, C, D, and E were all found in the Residence at

the time of the search.

       24.    Law enforcement also recovered a ledger in MALINEK's bedroomll

which appears to document the amounts MALINEK charged the aliens. The Iedger

Iists the total amount of money owed by the victims, as well as past pal.rnents made.

The ledger also contains signatures of the victims and MALINEK, as well as what

purports to be contract type language regarding the debts owed to MALINEK.




10Law enforcement is still working on verifuing the immigration status of all victims in this
investigation.
11 Law enforcement believes this to be MALINEK s bedroom based on MALINEICs
identification ofthe bedroom where the ledger was located as her bedroom.



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Included in the ledger for at least of one the victims is the sentences which reads,

"you are free to leave or stay after the debt has been paid."

       25.    Law enforcement also recovered fraudulent U.S. permanent resident

cards and social security cards depicting Victim D and Victim E's photograph from

inside the Residence. The fraudulent document for Victim E falsely states that she

is 27 years old.

       26.    Law enforcement also recovered from the back of the door in the

hasement of the Residence     a listing of the "rules" which were consistent with
description noted above by Victim C.

      f.      Information From Company A
       27.   A representative of Company A confirmed that Victims B, C, D, and E

are all current employees of Company A.




                                          10
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                                        CONCLUSION

      28.    Based upon the above information, there is probable cause to believe

that Concepcion MALINEK knowingly provided and obtained the labor and services of

a person, namely   Victims D and E, by means of serious harm and threats of serious harm

and by means of any scheme, plan, and pattern intended to cause Victims D and E to

believe that, if Victim D and E did not perform such labor or serrices, Victims D and E

or another person would suffer serious harm.




                                   before me on March 26,2019.
